Case 1:05-cv-01164-.]DT-STA Document 10 Filed 09/01/05 Page 1 of 2 Page|D 1

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Plaintiff, `§”`6’9'

v. NO. 05-1164 T/An

GIBSON COUNTY, TENNESSEE,
HOE SHEPPARD and DON CURRY,

Defendants.

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ORDER DENYING MOTION FOR EXTENSION OF TIME TO FILE
A RESPONSIVE PLEADING

 

Before the Court is Del"endants’ Motion for Extension of Tirne to File Responsive
Pleading filed on luly 8, 2005. Because Defendants have already filed their Answer, the instant

Motion is DENIED as moot.

IT IS SO ORDERED. d
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: S~cp`l£€m éf’r- / 2001/

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Thls document entered on the docket ama In compllance
with ama se and,'or_rs (a) FRCP on 5

 

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This notice confirms a copy ofthe document docketed as number 10 in
case 1:05-CV-01164 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

